Case 4:05-cr-00173-MAC-KPJ           Document 828         Filed 07/14/09      Page 1 of 2 PageID #:
                                            1620



                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:05cr173.8
                                                  §            (Judge Schneider)
 MELVIN DEMON GRIFFIN a.k.a. L.D.                 §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on July 13, 2009, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by

 Maureen Smith.

        On September 20, 2006, Defendant was sentenced by the Honorable Michael H. Schneider

 to fifty-seven (57) months’ custody followed by three (3) years of supervised release for the offense

 of Conspiracy to Distribute or Dispense or Possess with Intent to Distribute or Dispense Cocaine Base

 and Marijuana. On November 28, 2008, Defendant completed his period of imprisonment and began

 service of his term of supervised release.

        On July 2, 2009, the U.S. Pretrial Services Officer filed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated the following mandatory

 conditions: the defendant shall refrain from any unlawful use of a controlled substance and that the

 defendant shall submit to one drug test with fifteen days of release from imprisonment and at least

 two periodic drug tests thereafter, as directed by the Court. The petition also alleged violations of

 the following standard condition: the defendant shall refrain from excessive use of alcohol and shall

 not purchase, possess, use, distribute, or administer any controlled substance, or any paraphernalia
    Case 4:05-cr-00173-MAC-KPJ            Document 828        Filed 07/14/09       Page 2 of 2 PageID #:
                                                 1621


     related to any controlled substances, except as prescribed by a physician. The petition also alleged

     violations of the following special condition: the defendant shall participate in a program of testing

     and treatment for drug abuse, under the guidance and direction of the U.S. Probation Officer, until

     such time as the defendant is released from the program by the probation officer.

            The petition alleges that Defendant committed the following acts: (1) defendant submitted

     urine specimens on February 10, 2009, April 6, 2009, April 15, 2009, June 8, 2009 and June 24,

     2009, that tested positive for cocaine; and (2) that defendant failed to report as directed for drug

     testing on June 16, 2009.

            Prior to the Government putting on its case, Defendant entered a plea of true to all of the

     violations. The Court recommends that Defendant’s supervised release be revoked.

                                          RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release. The

     Court recommends that Defendant be committed to the custody of the Bureau of Prisons to be

     imprisoned for a term of fifteen (15) months. It is also recommended that Defendant be housed in
.
     the Bureau of Prisons, Seagoville Unit. After the Court announced the recommended sentence,

     Defendant executed the consent to revocation of supervised release and waiver of right to be present

     and speak at sentencing. Defendant also waived his right to file objections.

        SIGNED this 14th day of July, 2009.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES MAGISTRATE JUDGE
